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       CERTIFICATION OF NAMED PLAINTIFF PURSUANT
               TO FEDERAL SECURITIES LAWS
I, Michael Querio                    , duly certify and say, as to the claims asserted under the federal
  Name

securities laws, that:

1. I have reviewed the complaint and authorized its filing.

2. I did not purchase the security that is the subject of this action at the direction of plaintiff's counsel
or in order to participate in this action.

3. I am willing to serve as a representative party on behalf of the class, including providing testimony
at deposition and trial, if necessary.

4. My transaction(s) in AppLovin Corporation which are the subject of this litigation during the class
period set forth in the complaint are set forth in the chart attached hereto.

5. Within the last 3 years, I have not sought to serve nor have I served as a class representative in any
federal securities fraud case.

6. I will not accept any payment for serving as a representative party on behalf of the class beyond
the Plaintiff's pro rata share of any recovery, except as ordered or approved by the court, including
any award for reasonable costs and expenses (including lost wages) directly relating to the
representation of the class.

I certify under penalty of perjury that the foregoing is true and correct. Executed this:

 3/4/2025
Date


 Michael Querio
Name




Signature
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